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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA

vs.                                                  2:06-cr-50-FtM-99SPC

JOSE LUIS ZALDIVAR
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on Defendant Jose Luis

Zaldivar’s Second Amended Motion to Sever Defendants (Doc. #151).

The government filed a Response (Doc. #123) to the previously filed

Motion to Sever, and defendant filed an unauthorized Reply (Doc.

#128).

      There is a two-step inquiry to determine whether charges

against multiple defendants may be properly tried at the same time:

First, the government must demonstrate that the initial joinder of

the offenses was proper under Rule 8.            Second, the Court must

exercise its discretion in determining whether a severance should

nonetheless be granted under Rule 14.        United States v. Gabay, 923

F.2d 1536, 1539 (11th Cir. 1991); United States v. Montes-Cardenas,

746 F.2d 771, 776 (11th Cir. 1984).

      The   joinder   of   multiple   defendants    in   an   indictment is

governed by Fed. R. Crim. P. 8(b), which provides:

            Two or more defendants may be charged in the
            same indictment or information if they are
            alleged to have participated in the same act
            or transaction or in the same series of acts
            or transactions constituting an offense or
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            offenses. Such defendants may be charged in
            one or more counts together or separately and
            all of the defendants need not be charged in
            each count.

Joinder of defendants under Rule 8(b) is a question of law.          United

States v. Dominguez, 226 F.3d 1235, 1238 (11th Cir. 2000); United

States v. Wilson, 894 F.2d 1245, 1252-53 (11th Cir. 1990), cert.

denied sub nom. Levine v. United States, 497 U.S. 1029 (1990);

United States v. Morales, 868 F.2d 1562, 1567 (11th Cir. 1989).

Rule 8(b) is designed to promote judicial economy and efficiency,

and the rule is broadly construed in favor of initial joinder.

Dominguez, 226 F.3d at 1238; United States v. Weaver, 905 F.2d

1466, 1476 (11th Cir. 1990), cert. denied sub nom. Sikes v. United

States, 498 U.S. 1091 (1991).       The general rule is that defendants

who are jointly indicted should be tried together.           United States

v. Cross, 928 F.2d 1030, 1037 (11th Cir. 1991), cert. denied 502

U.S. 985 (1991); United States v. Perez-Garcia, 904 F.2d 1534, 1547

(11th Cir. 1990).     Absent allegations of bad faith, the question of

whether initial joinder is proper is determined by an examination

of the allegations stated on the face of the indictment.            Weaver,

905 F.2d at 1476; Morales, 868 F.2d at 1567-68.

      Joinder is proper when “the facts underlying each offense are

so closely connected that proof of such facts is necessary to

establish each offense”.      Weaver, 905 F.2d at 1477 (quoting United

States v. Nettles, 570 F.2d 547, 551 (5th Cir. 1978)).         In Morales,

the Court noted that the government must demonstrate that “the acts

alleged are united by some substantial identity of facts and/or
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participants.”      868 F.2d at 1569.     Under this standard, however,

each defendant need not have been involved in every phase of the

venture      or   even   know   the   roles   and   identities   of    other

participants.      Wilson, 894 F.2d at 1253.

      Even if initial joinder is proper, however, severance may be

granted under Rule 14.1          Morales, 868 F.2d at 1568.           As the

Eleventh Circuit said in United States v. Bryan:

      Although the remedy for misjoinder under Rule 8(b) and
      prejudicial joinder under Rule 14 is the same - severance
      and separate trials - the two rules are analytically and
      procedurally distinct. A motion for severance based on
      misjoinder under Rule 8 alleges an error in the
      indictment, and severance must be granted if the
      defendants were improperly joined. Rule 14 comes into
      play only if joinder was initially proper under Rule 8
      but a joint trial would prejudice one or more defendants.
      It is addressed to the discretion of the trial judge.

843 F.2d 1339, 1342 (11th Cir. 1988)(quoting United States v.

Williams, 711 F.2d 748 (6th Cir. 1983), cert. denied 464 U.S. 986

(1983)).

      Defendant does not contend that initial joinder was improper,

but asserts that severance is appropriate under Fed. R. Crim. P.

14.   Zafiro v.     United States, 506 U.S. 534, 538 (1993); Morales,


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          Fed. R. Crim. P. 14 provides in pertinent part:

              If it appears that a defendant or the
              government is prejudiced by a joinder of
              offenses or of defendant in an indictment or
              information or by such joinder for trial
              together, the court may order an election or
              separate trials of counts, grant a severance
              of defendants or provide whatever other relief
              justice requires.
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868 F.2d at 1568.     Such a motion is addressed to the discretion of

the court, and a trial court must balance the prejudice a defendant

may suffer from a joint trial against the public interest in

judicial economy and efficiency.         United States v. Lehder-Rivas,

955 F.2d 1510, 1521 (11th Cir. 1992); United States v. Eyster, 948

F.2d 1196, 1213 (11th Cir. 1991); Cross, 928 F.2d at 1037.                 A

severance may be granted only if a joint trial will result in

specific and compelling prejudice.         Eyster, 948 F.2d at 1213-14.

“Compelling prejudice” has been held to mean that a jury will not

be able to collate and appraise the evidence against each defendant

independently.     United States v. Nixon, 918 F.2d 895, 906 (11th

Cir. 1990).      A defendant does not suffer compelling prejudice

simply because much of the evidence at trial is applicable only to

a co-defendant.      United States v. Francis, 131 F.3d 1452, 1459

(11th Cir. 1997); United States v. Smith, 918 F.2d 1501, 1510 (11th

Cir. 1990).     Similarly, a severance is not justified because a

defendant may stand a better chance of acquittal in a separate

trial or the evidence is stronger against a co-defendant.            Cross,

928 F.2d at 1037, n.21.           There is a legal presumption         that

cautionary instructions to the jury to consider the evidence

separately as to each defendant will be adequate to guard against

prejudice.     United States v. Leavitt, 878 F.2d 1329, 1340 (11th

Cir. 1989), cert. denied sub nom. Garces v. United States, 493 U.S.

968 (1989).



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       The   Court     finds   that   no       compelling      prejudice     has   been

demonstrated at this point in the case.                 While defendant is charged

only in the conspiracy count, and not the substantive count, the

Court finds no prejudice which cannot be overcome with proper jury

instructions or, in a Bruton v. United States, 391 U.S. 123 (1968)

situation,      with    the    exclusion        of   the      offending    testimony.

Defendant has not made a sufficient claim of antagonistic defenses.

Defendant has not even alleged that he has such inconsistent

defenses, only that it is a “strong possibility” that defenses will

be of an antagonistic nature.          Separate defenses among defendants

do not require severance unless “the jury, in order to believe the

core   of    testimony    offered     on       behalf    of    [a]   defendant     must

necessarily disbelieve the testimony offered on behalf of his

co-defendant.”         United States v. Garate-Vergara, 942 F.2d 1543,

1552    (11th   Cir.    1991)(internal          quotation      marks   and   citation

omitted).       Defendant has not shown that the defenses will be

irreconcilable or mutually exclusive at this point.

       In order to obtain a severance based on a desire for a co-

defendant’s testimony, a defendant must demonstrate:

       (1) a bona fide need for the codefendant’s testimony; (2)
       the substance of the testimony; (3) the exculpatory
       nature and effect of the testimony; and (4) that the
       codefendant will actually testify.”

Leavitt, 878 F.2d at 1340.         The Court finds that defendant has not

made the requisite showing to be entitled to severance.

       Because no specific compelling prejudice has been demonstrated

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by defendant for any of the reasons he asserts, the Court concludes

that the motion is due to be denied.       The Court notes that there is

no prohibition against defendants renewing their Rule 14 motions

for severance at a future date if additional facts or circumstances

are developed which may demonstrate compelling prejudice.            United

States v. Benz, 740 F.2d 903, 913 (11th Cir. 1984); see e.g.,

United States v. Van Hemelryck, 945 F.2d 1493, 1500 (11th Cir.

1991)(after initially denying the motions for severance, the trial

court ultimately revisited the question of severance and severed

out two of the co-defendants).

      Accordingly, it is now

      ORDERED

       Defendant Jose Luis Zaldivar’s Second Amended Motion to Sever

Defendants (Doc. #151) is DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this           9th    day of

October, 2006.




Copies:
Counsel of Record




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